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From:            Enslin, Sharda
To:              "Kira Kelley"
Cc:              Karmen McQuitty; Robertson, Heather (she/her/hers); Sarff, Kristin; Claire Glenn
Subject:         RE: [EXTERNAL] Re: Settlement Proposal
Date:            Wednesday, November 27, 2024 3:49:00 PM


Why don’t we stipulate to extending the discovery completion period to Dec. 22? That gives us an
additional week from the current deadline and should be plenty of time if we can schedule the depo
for the 17th or 18th. Leung won’t be inclined to extend the discovery period without good cause, so I
can write up a joint stip with an explanation that the need for the extension is based on the
deponent’s limited availability. Let me know if that works. Thanks!


From: Kira Kelley <kira@climatedefenseproject.org>
Sent: Wednesday, November 27, 2024 11:09 AM
To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>
Cc: Karmen McQuitty <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
<Heather.Robertson@minneapolismn.gov>; Sarff, Kristin <Kristin.Sarff@minneapolismn.gov>; Claire
Glenn <claire@climatedefenseproject.org>
Subject: Re: [EXTERNAL] Re: Settlement Proposal

Hi Sharda,

Would you be willing to stipulate to an extension of the December 15th fact deadline by a few weeks
just to give us all a buffer? We could schedule the evidentiary depo on the 17th or 18th if so.

Best,

Kira

On Wed, Nov 27, 2024, 6:33 AM Enslin, Sharda <sharda.enslin@minneapolismn.gov> wrote:

  Hi Kira – turns out that while I’m available the week of Dec. 9, our deponent is not. However, both
  he and I are available on Dec. 17th or 18th. Would either of those dates work for you? Technically
  this falls a couple days outside of our discovery period, but given that the parties have been
  planning on conducting this deposition for a while now, if we’re both in agreement and it’s the
  only date that works for the witness, I think it’s fine.

  From: Kira Kelley <kira@climatedefenseproject.org>
  Sent: Tuesday, November 26, 2024 10:21 AM
  To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>
  Cc: Karmen McQuitty <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
  <Heather.Robertson@minneapolismn.gov>; Sarff, Kristin <Kristin.Sarff@minneapolismn.gov>;
  Claire Glenn <claire@climatedefenseproject.org>
  Subject: Re: [EXTERNAL] Re: Settlement Proposal

  Hi Sharda,


                                                                                                         Exhibit K
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I sent it to you on September 13, with the changes we'd discussed in our phone call. Let
me know if you can't find that thread and I will bump it in your inbox! I'll re-attach the
updated list here as well for your convenience.

The week of Dec 9th is pretty open for me, I'll confer with my cocounsel. Did you have
any specific days/times in mind?

Best,

Kira

____________________
Kira Kelley (they/she)
Staff Attorney  
Climate Defense Project
climatedefenseproject.org




On Mon, Nov 25, 2024 at 7:18 AM Enslin, Sharda <sharda.enslin@minneapolismn.gov> wrote:
   Hi Kira, did you ever send me an updated list of topics? What is your availability the week of
   December 9th?


   From: Kira Kelley <kira@climatedefenseproject.org>
   Sent: Thursday, November 21, 2024 5:18 PM
   To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>; Karmen McQuitty
   <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
   <Heather.Robertson@minneapolismn.gov>; Sarff, Kristin <Kristin.Sarff@minneapolismn.gov>;
   Claire Glenn <claire@climatedefenseproject.org>
   Subject: [EXTERNAL] Re: Settlement Proposal

   Hi Sharda,

   Just wanted to follow up on this, and to check in on when the City would be
   available for a deposition.

   Hope you are well!

   Kira

   ____________________
   Kira Kelley (they/she)
   Staff Attorney  
   Climate Defense Project
   climatedefenseproject.org




                                                                                           Exhibit K
